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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

RAMONA THURMAN BIVINS,                )
                                      )
             Plaintiff,               )
                                      )
v.                                    )     CIVIL ACTION
                                      )     NO: 1:22-cv-04149-WMR
FELICIA FRANKLIN, in her              )
individual and official capacities;   )
ALIEKA ANDERSON, in her               )
individual and official capacities;   )
GAIL HAMBRICK, in her                 )
individual and official capacities;   )
and CLAYTON COUNTY,                   )
GEORGIA                               )
            Defendants.               )

      DEFENDANTS GAIL HAMBRICK AND CLAYTON COUNTY,
     GEORGIA’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT

      COME NOW Defendants Gail Hamrick, in her individual and official

capacities (“Commissioner Hamrick” or Defendant Hambrick”), and Clayton

County, Georgia, (“Clayton County” or “the County”) (collectively, “Defendants”),

by and through counsel, and file this Motion to Dismiss pursuant to Federal Rule of

Civil Procedure 12(b)(6). The basis for the motion is set forth in the accompanying

brief in support of the motion.

      Respectfully submitted this 5th day of December, 2022.
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                     CERTIFICATE OF COMPLIANCE
      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing has been

prepared in compliance with Local Rule 5.1(C) (Times New Roman font, 14-point).

      This 5th day of December, 2022.

                                     FREEMAN MATHIS & GARY, LLP

                                     /s/ Kirsten S. Daughdril
                                     Kirsten S. Daughdril
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                        CERTIFICATE OF SERVICE
      I hereby certify that I have this day electronically submitted the foregoing

DEFENDANTS         GAIL      HAMBRICK         AND      CLAYTON        COUNTY,

GEORGIA’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT to the

Clerk of Court using the CM/ECF system which will automatically send electronic

mail notification of such filing to all counsel of record who are CM/ECF system

participants.

      This 5th day of December, 2022.

                                     FREEMAN MATHIS & GARY, LLP

                                     /s/ Kirsten S. Daughdril
                                     Kirsten S. Daughdril
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                                     Attorney for Defendants Clayton County,
                                     Georgia and Gail Hambrick


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